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Rev. 3/2014

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

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(Enter your full namé, prison number

and address)
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WARD Ga) CTE Ae oe
1Ge( c= S54 SS. ) Case: 1:22-—cv-03865
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) Assign. Date : 12/27/2022

(Enter the full name and address(es), Description: P .
if know, of the defendant(s) in this Son Phe pe i@enaGiv: (F-DECK)

action)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

Instructions for filing a Complaint by a Prisoner
Under the Civil Rights Act, 42 U.S.C. § 1983

This packet contains one copy of a complaint form and one copy of an application to proceed in forma
pauperis. To start an action, you must file an original and one copy of this complaint form.

Your complaint must be clearly handwritten or typewritten and you must sign and declare under penalty
of perjury that the facts are correct. If you need additional space to answer a question, you may use
another blank page.

Your complaint can be brought in this Court only if one or more of the named defendants is located
within the District of Columbia. Further, you must file a separate for each claim that you have unless
they are related to the same incident or problem. The law requires that you state only facts in your
complaint.

You must supply a certified copy of your prison trust account, pursuant to the provisions of 28 U.S.C.
§1915, effective April 26, 1996. The filing fee is $400.00. If insufficient funds exist in your prison
account at the time of filing your complaint, the court must access, and when funds exist, collect an
initial filing fee equal to 20 percent of the greater of:

(1) the average monthly deposits to your prison account, or
(2) the average monthly balance of your prison account for the prior six-month period.

(1)
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Thereafter, you are required to make monthly payments of 20% of the preceding month's income. The
agency having custody over you must forward payments from your account to the clerk of the court each
time the amount in the account exceeds $10.00 until the filing fees are paid.

Therefore, before an assessment can be made regarding your ability to pay, you must submit a certified
copy of your prison account for the prior six-month period.

When this form is completed, mail it and the copy to the Clerk of the United States District Court for the
District of Columbia, 333 Constitution Ave., N.W., Washington, D.C. 20001.

I. SUCCESSIVE CLAIMS

Pursuant to the Prison Litigation Reform Act of 1995, unless a prisoner claims to be in
“imminent danger of serious physical injury," he or she may not file a civil action or pursue a
civil appeal in forma pauperis "if the prisoner has, on three or more occasions, while
incarcerated or detained in any facility, brought an action or appeal in a court of the United
States that was dismissed on the grounds that it is frivolous, malicious, or they failed to state a
claim upon which relief could be granted."

Il. PREVIOUS LAWSUITS

A. Have you begun other lawsuits in state or federal court dealing with the same or similar
facts involved in this action? Yes( ) No( )
B. Have you begun other lawsuits in state or federal court relating to your imprisonment?

Yes( ) No (=>
C. If your answers to A or B is Yes, describe each lawsuit in the space below. (If there is
more than one lawsuit, describe the additional lawsuits on another piece of paper, using

the same outline.)

1. Parties to this previous lawsuit.

Plaintiffs: Ml tb

Defendants: __/ def
eX

2. Court (If ek court, please name the district; if state court name the county.)
Al A=

he
3. Docket number: hee

4. Name of judge to whom case was assigned: {L &k-

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5. Disposition (for example: Was the case dismissed? Was it appealed? Is it still
pending?) __,L/
ve

6. Approximate date of filing lawsuit: Uk

7. Approximate date of disposition: MAL

PLACE OF CONFINEMENT

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=> p22

A, Is there a prisoner grievance procedure in this institution? Yes fe No(¢ )
If your answer is Yes, go to Question III B. If your answer is No, skip Questions HI, B,
C and D and go to Question III E.

B. Did you present the facts relating to your complaint in the prisoner grievance procedure?
Yes(J)—~ No( )
C. If your answer is Yes to Question III B:

1. To whom and when did you complain? Lv AR DEAD L Dilccke
Ag PbS Soak Cetin Sen yeg  Akuntexiey

2. Did you complain in writing? (Furnish copy of the complaint you made, if you

have one.) Yes (4-}—_ No( )

3, What, if any, response did you receive? (Furnish copy of response, if in
writing.) _“trtk—- (K220 GAvi ~ 2 coo MC he

4. What happened as a result of your complaint? They | Arsf
SAyig Stott ff,  mordter? gritatn £
“sé owe feo “SCG mM eg —C_.
D. If your answer is No to Question III B, explain why not. k2#4—
E. If there is no prison grievance procedure in the institution, did you complain to prison

authorities? Yes(—}~ No( )
F. If your answer is Yes to Question III E;

1. To whom and when did you complain? LARP) Soky ) ied, if
5 LP Adare 7 he pt ihe Sel ACoZ Ax t receh ge oe 4

(as
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2. Did you complain in writing? (Furnish copy of the complaint you made, if you

have one.) Yes(—>_ ~—s—No(_—+)

3. What, if any response did you receive? (Furnish copy of response, if in writing.)
Vrtinny a7
4, What happened as a result of your complaint? (uell5 7
PARTIES

In item A below, place your name and prison number in the first blank and your present address
in the second blank. Do the same for additional plaintiffs, if any.

A. Name of Plaintiff: WARNE. , CTE
Address: L\oge/ & ste SEe_ kh bia lr IC Foes

In item B below, place the full name of the defendant(s) in the first blank, their official position
in the second blank, their place of employment in the third blank, and their address in the fourth
blank. Do the same for additional defendants, if any.

B. Defendant: 4 ifechle gr cf. /). C4 DecrAthius ef
(edd Ec Moye =
Address: LA pho Autre en

Defendant: (Le w\W Gotuuicap Ad wriahheet C7F

Address: Woof F& sk. Se. UA CO diy Kee De

COZ
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Defendant:

Address:

Defendant:

Address:

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V. STATEMENT OF CLAIM

State here briefly as possible the facts of your case. Describe how each defendant is involved.
Include the names of other persons involved, dates, and places. If you intend to allege a number
of related claims, number and set forth each claim in a separate paragraph. Attach extra sheets, if
necessary. ‘
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VI. RELIEF
State briefly exactly what you want the Court to do for you.
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for auk oslo desclar Che Lo 4
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PALL cry S GOOF. Lee Fo bm ADR LK
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Signed this ef day of fi2OUL Bu Qe I)

Cf Oe

: (Signature of Plaintiff)

I declare under penalty of perjury that the foregoing is true and correct.

(Date) y (Signature of Plaintiff)

n:\Forms\42 USC 1983

